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                             7th day of May, 2012.




                                   ________________________________
                                   LARRY R. HICKS
                                   UNITED STATES DISTRICT JUDGE
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